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IN THE CIRCUIT COURT FOR PRINCE GEORGE'S COUNTY, MARYLAND
Civil Division
PEARL DURHAM
1409 7th Street, NW
Apt. 309
Washington, D.C. 20001

Plaintiff,
v.
MGM NATIONAL HARBOR, LLC - Case No.:
"3905 Las Vegas Boulevard South me
_ Las Vegas, NV 89119
Serve: CSC-Lawyers Incorporating
Service Company

7 St. Paul Street, Suite 820
Baltimore, MD 21202

 

Defendant.

COMPLAINT
Comes now Plaintiff Pearl Durham (hereafter, “Plaintiff’), by and through the
undersigned counsel, and makes this Complaint against Defendant MGM National Harbor, LLC

(hereafter, “Defendant”). In support thereof, Plaintiff states as follows:

Parties
L. Plaintiff is an individual who resides at the above captioned address.
2. Defendant is a corporation doing business in the State of Maryland with a

principle office located at 3905 Las Vegas Boulevard South, Las Vegas, NV 89119.
Jurisdiction
3. This Court has subject matter jurisdiction over this action pursuant to § 1-501 of

the Courts and Judicial Proceedings Article of the Maryland Code.

 

 

 
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4, This Court has personal jurisdiction over Defendant pursuant § 6-103(b) (1-3) of
the Courts and Judicial Proceedings Article of the Maryland Code in that Defendant transacts
business in the State of Maryland, contracts to supply goods, food, services, or manufactured
products in the State of Maryland, and/or caused tortious injury by an act or omission in the State
of Maryland.

5. This Court is the proper venue for this matter pursuant to § 6-201(a) and § 6-
202(8) of the Courts and Judicial Proceedings Article of the Maryland Code in that Defendant
carries on a regular business in Prince George’s County, Maryland and the cause of action arose -

in Prince George’s County, Maryland.

Factual Background.
6, On or about April 3, 2017, Plaintiff was walking in the bathroom in the MGM

National Harbor in Prince George’s County, Maryland (hereafter, “the Premises”).

7. At all times relevant to this Complaint, Defendant owned, operated, and/or was
responsible for the maintenance and/or management of the Premises where Plaintiff was
walking.

8, At approximately 2:30 p.m. on or about April 3, 2017, Plaintiff slipped and fell on
a puddle of water on the floor of the bathroom in the Premises. |

9. At all material times, Defendant knew or should have known that the puddle
constituted a dangerous condition and failed to remedy or warn persons lawfully upon the
premises such as Plaintiff of said condition.

10. The incident referenced herein was caused by the violations of law and negligence
of Defendant. Defendant’s negligence included, but was not limited to, failing to properly
maintain the area where Plaintiff was injured, failing to properly inspect the Premises, failing to

warn of a dangerous condition, failing to remedy a dangerous condition, and failing to exercise

Nw

 
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ordinary and reasonable care under the circumstances. In violation of such duty, Defendant

caused the incident as set forth herein

li. Asa direct and proximate result of the incident, Plaintiff suffered bodily injuries
that have caused, and wil] continue to cause, physical and mental pain and suffering for the rest
of her life. Plaintiff has incurred, and will continue to incur, medical, therapeutic, and related

expenses, including lost wages and property damage.

12. Plaintiff has complied with all conditions precedent in the filing of this
Complaint.

Claim for Relief — Negligence of Defendant:

13. Plaintiff restates and realleges each and every allegation set forth above as if fully
set forth herein.

-14, At all times mentioned herein, Defendant had a duty to keep the Premises
reasonably safe and to avoid injuring persons lawfully upon the ‘Premises. Defendant’s
negligence included, but was not limited to, failing to properly maintain the area, where Plaintiff
was injured, failing to properly inspect the Premises, failing to warn of a dangerous condition,
failing to remedy a dangerous condition, and failing to exercise ordinary and reasonable care
under the circumstances. In violation of such duty, Defendant caused the incident as set forth

herein.

15. As a direct and proximate result of Defendant’s negligence, Plaintiff suffered

injuries and damages as set forth above.
16. The above injuries and damages were caused solely and proximately by

Defendant, without any contributory negligence on the part of Plaintiff.

* * *

WHEREFORE, Plaintiff respectfully requests judgment against Defendant in an amount

to be determined at trial but believed to exceed seventy-five thousand dollars ($75,000.00) in
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compensatory damages, plus costs of suit, pre and post judgment interest and such other and

further relief as this Court deems just and proper.

Jury Demand
Plaintiff, by and through the undersigned counsel and pursuant to Md. Rule § 2-325,

hereby demand a trial by jury of all issues in this matter.

Dated: March 13, 2020 RESPECTFULLY SUBMITTED,

Michael C. Robinett, #011360
CPF# 0606130254

Joanne J. Lee, #13774

CPF# 1912180010

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Defendant.

 

Case No.:

Rule 1-313 Certification

 

Pursuant to Maryland Rule 1-313, Michael C. Robinett, counsel to Plaintiff, hereby states

he is admitted to practice law in the State of Maryland.

Dated: March 13, 2020

RESPECTFULLY SUBMITTED,

 

Michael C. Robiriett, #011360

CPF# 0606130254

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Defendant,

 

Case No.:

 

Rule 1-313 Certification

Pursuant to Maryland Rule 1-313, Joanne J. Lee, counsel to Plaintiff, hereby states she is

admitted to practice law in the State of Maryland.

Dated; March 13, 2020

RESPECTFULLY SUBMITTED,

Joanne J, Lee, #13074" |
CPF#4912}80010

 

 

 

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